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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                v.
                                                      Crim. No. 17-201-2 (ABJ)
 RICHARD W. GATES III,

                     Defendant.

                                   JOINT STATUS REPORT

       COMES NOW, the United States of America, by and through Special Counsel Robert S.

Mueller, III, and the defendant through his counsel, and file this joint status report to update the

Court on this matter.

       1.       The parties previously filed a Joint Status Report on August 10, 2018 and proposed

to send an ensuing report within ninety days and no later than November 10, 2018. To date, the

status of this matter has not changed substantially since the August report, as defendant Gates

continues to cooperate with respect to several ongoing investigations, and accordingly the parties

do not believe it is appropriate to commence the sentencing process at this time.

       2.       The parties respectfully request that they provide a joint status report within sixty

days, no later than January 15, 2019.

                                                       Respectfully submitted,

                                                       ROBERT S. MUELLER, III
                                                       Special Counsel

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